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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

             In re:                                                           Chapter 11

             BOY SCOUTS OF AMERICA AND                                        Case No. 20-10343 (LSS)
             DELAWARE BSA, LLC,1
                                                                              Jointly Administered
                                           Debtors.


                                                CERTIFICATE OF SERVICE

                      I hereby certify that on August 20, 2021, the Combined Sixteenth Monthly

         Application of James L. Patton as the Legal Representative for Future Claimants and Young

         Conaway Stargatt & Taylor, LLP as Counsel to the Legal Representative for Future Claimants

         for Allowance of Compensation and Reimbursement of Expenses for the Period From July 1,

         2021 Through July 31, 2021 (the “Application”) was caused to be served as indicated upon the

         parties identified in Exhibit A and the Notice of Fee Application was caused to be served as

         indicated upon the parties identified in Exhibit B.

             Dated: August 20, 2021                      YOUNG CONAWAY STARGATT & TAYLOR, LLP

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         1
           The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
         number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
         is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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                                     EXHIBIT A




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                                              Case No. 20-10343 (LSS)
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                                     EXHIBIT B




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